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          EXHIBIT 3
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                                                               -
                                                             •:- FTX
                                                        FTX Trading Ltd
This certifies that IPV FTX Co-Invest is the stockholder of Nineteen Thousand Seventy-Seven (19,077) fully paid and non-assessable shares
of Series 8-1 Preferred Stock, par value$ 0.0000026, of FTX Trading Ltd, hereinafter designated the "Corporation", transferable on the books
of the Corporation in person or by duly authorized attorney upon surrender of the certificate properly endorsed. This Certificate and the
shares represented hereby, are issued and shall be held subject to all of the provisions of the Certificate of Incorporation and the bylaws of
the Corporation, to all of which each holder, by acceptance hereof, assents, and agrees to be bound.

A statement of the rights, preferences, privileges and restrictions granted to or imposed upon each class or series of shares of stock of the
Corporation authorized to be issued and upon the holders thereof as established by the Certificate of Incorporation or by any certificate of
amendment may be obtained by any stockholder upon request and without charge at the principal office of the Corporation. TRANSFER OF
THE SHARES REPRESENTED BY THIS CERTIFICATE MAY BE RESTRICTED. SEE LEGENDS ON REVERSE SIDE.

In Witness Whereof, the said Corporation has caused this Certificate to be signed by its duly authorized officers, effective as of September 23,
2022.




        Sam Bankman-Fried, President                                                                                   Can Sun, Secretary
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THE SHARES REPRESENTED HEREBY HAVE NOT BEEN REGISTERED UNDER THE SECURITIES ACT OF 1933, AND HAVE BEEN ACQUIRED FOR
INVESTMENT AND NOT WITH A VIEW TO, OR IN CONNECTION WITH, THE SALE OR DISTRIBUTION THEREOF. NO SUCH TRANSFER MAY BE EFFECTED
WITHOUT AN EFFECTIVE REGISTRATION STATEMENT RELATED THERETO OR AN OPINION OF COUNSEL IN A FORM SATISFACTORY TO THE
COMPANY THAT SUCH REGISTRATION IS NOT REQUIRED UNDER THE SECURITIES ACT OF 1933.


THE SHARES REPRESENTED BY THIS CERTIFICATE HAVE NOT BEEN REGISTERED UNDER THE SECURITIES ACT OF 1933, AS AMENDED (THE "ACT")
WITH THE UNITED STATES SECURITIES AND EXCHANGE COMMISSION, AND THE COMPANY DOES NOT INTEND TO REGISTER THEM. PRIOR TO THE
ONE-YEAR ANNIVERSARY FROM THE DATE OF PURCHASE, THE SHARES MAY NOT BE OFFERED OR SOLD (INCLUDING OPENING A SHORT POSITION
IN SUCH SECURITIES) IN THE UNITED STATES OR TO U.S. PERSONS AS DEFINED BY RULE 902(k) ADOPTED UNDER THE ACT, OTHER THAN TO
DISTRIBUTORS, UNLESS THE SHARES ARE REGISTERED UNDER THE ACT, OR AN EXEMPTION FROM THE REGISTRATION REQUIREMENTS OF THE ACT
IS AVAILABLE. PURCHASERS OF SHARES PRIOR TO THE ONE-YEAR ANNIVERSARY FROM THE DATE OF PURCHASE, MAY RESELL SUCH SECURITIES
ONLY PURSUANT TO AN EXEMPTION FROM REGISTRATION UNDER THE ACT OR OTHERWISE IN ACCORDANCE WITH THE PROVISIONS OF
REGULATION S OF THE ACT, OR IN TRANSACTIONS EFFECTED OUTSIDE OF THE UNITED STATES PROVIDED THEY DO NOT SOLICIT (AND NO ONE
ACTING ON THEIR BEHALF SOLICITS) PURCHASERS IN THE UNITED STATES OR OTHERWISE ENGAGE(S) IN SELLING EFFORTS IN THE UNITED
STATES AND PROVIDED THAT HEDGING TRANSACTIONS INVOLVING THESE SECURITIES MAY NOT BE CONDUCTED UNLESS IN COMPLIANCE WITH
THE ACT. A HOLDER OF THE SECURITIES WHO IS A DISTRIBUTOR, DEALER, SUB- UNDERWRITER OR OTHER SECURITIES PROFESSIONAL, IN
ADDITION , CANNOT PRIOR TO THE ONE-YEAR ANNIVERSARY FROM THE DATE OF PURCHASE RESELL THE SECURITIES TO A U.S. PERSON AS
DEFINED BY RULE 902(k) OF REGULATION S UNLESS THE SECURITIES ARE REGISTERED UNDER THE ACT OR AN EXEMPTION FROM REGISTRATION
UNDER THE ACT IS AVAILABLE .


THE SECURITIES REPRESENTED HEREBY HAVE BEEN ACQUIRED FOR INVESTMENT AND HAVE NOT BEEN REGISTERED UNDER THE SECURITIES ACT
OF 1933. SUCH SHARES MAY NOT BE SOLD, PLEDGED, OR TRANSFERRED IN THE ABSENCE OF SUCH REGISTRATION OR A VALID EXEMPTION FROM
THE REGISTRATION AND PROSPECTUS DELIVERY REQUIREMENTS OF SAID ACT.

THE SECURITIES REPRESENTED HEREBY MAY BE TRANSFERRED ONLY IN ACCORDANCE WITH THE TERMS OF AN AGREEMENT BETWEEN THE
COMPANY AND THE SHAREHOLDER, A COPY OF WHICH IS ON FILE WITH THE SECRETARY OF THE COMPANY.
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~     This certificate was created from the transfer of certificate PB1-23.




                                                                            Shareholder



  Name                                                       IPV FTX Co-Invest

  Email                                                      placeholder@example.com

  Status                                                     Outstanding




                                                                              Certificate



  Share class                                                Series B-1 Preferred (certificated)

  Quantity                                                   19,077 shares

  Cash paid 0                                                $629,541 .00 (USD)

  Share class original issue price 0                         $36.41 (USD)

  Price per share 0                                          $33.00 (USD)

  Original acquisition date 0                                Sept. 23, 2022

  Cost basis 0                                               $629,541 .00 (USD)

  Certificate front and back




                                                                                 Issuer



  Issued by                                                  FTX Trading Ltd

  Issue date                                                 Sept. 23, 2022




                                                                        Share class details
                                               Current share class details are shown. See historical share class details >




Legend:      Current certificate

 Share class                                          Seniority            Original price            Conversion price         Conversion ratio   Multiplier

 Common                                                      2

 Common (B-1 Secondary)                                      2

 Series A Preferred                                                           $0.18972                      $0.18972              Not entered           1x

 Series B-1 Preferred                                                            $36.41                       $36.41              Not entered           1x

 Series B Preferred                                                              $26.21                       $26.21              Not entered           1x

 Series C Preferred                                                           $46.3518                      $46.3518              Not entered           1x


Lowest seniority number gets paid out first.
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                                                                             Dividends


Legend:    Current certificate


 Share class                     Cumulative                 Dividend rate               Dividend accrual     Compound interest        Compound period

 Series A Preferred

 Series B-1 Preferred

 Series B Preferred

 Series C Preferred




                                                                            Participation


Legend :   Current certificate


 Share class                                                                       Participating                                       Participation cap

 Series B-1 Preferred                                                              No

 Series B-1 Preferred                                                              No

 Series B-1 Preferred                                                              No

 Series B-1 Preferred                                                              No




                                                                            Compliance



  Federal exemption                                      None entered


  Rule 144 date                                          Oct. 18, 2021


  Rule 144 difference reason                             Restricted securities purchased from another non-affiliate


  State exemption                                        Non-U.S.


  State of residency                                     None entered


Learn about exemptions >




                                                                              Legend



Transfer restrictions are described by the following legend included on this certificate.




  THE SHARES REPRESENTED HEREBY HAVE NOT BEEN REGISTERED UNDER THE SECURITIES ACT OF 1933, AND HAVE BEEN ACQUIRED FOR INVESTMENT AND NOT WITH
  A VIEW TO, OR IN CONNECTION WITH, THE SALE OR DISTRIBUTION THEREOF. NO SUCH TRANSFER MAY BE EFFECTED WITHOUT AN EFFECTIVE REGISTRATION
  STATEMENT RELATED THERETO OR AN OPINION OF COUNSEL IN A FORM SATISFACTORY TO THE COMPANY THAT SUCH REGISTRATION IS NOT REQUIRED UNDER THE
  SECURITIES ACT OF 1933.


  THE SHARES REPRESENTED BY THIS CERTIFICATE HAVE NOT BEEN REGISTERED UNDER THE SECURITIES ACT OF 1933, AS AMENDED (THE "ACT") WITH THE UNITED
  STATES SECURITIES AND EXCHANGE COMMISSION, AND THE COMPANY DOES NOT INTEND TO REGISTER THEM. PRIOR TO THE ONE-YEAR ANNIVERSARY FROM THE
  DATE OF PURCHASE, THE SHARES MAY NOT BE OFFERED OR SOLD (INCLUDING OPENING A SHORT POSITION IN SUCH SECURITIES) IN THE UNITED STATES OR TO U.S.
  PERSONS AS DEFINED BY RULE 902(k) ADOPTED UNDER THE ACT, OTHER THAN TO DISTRIBUTORS, UNLESS THE SHARES ARE REGISTERED UNDER THE ACT, OR AN
  EXEMPTION FROM THE REGISTRATION REQUIREMENTS OF THE ACT IS AVAILABLE. PURCHASERS OF SHARES PRIOR TO THE ONE-YEAR ANNIVERSARY FROM THE DATE
  OF PURCHASE, MAY RESELL SUCH SECURITIES ONLY PURSUANT TO AN EXEMPTION FROM REGISTRATION UNDER THE ACT OR OTHERWISE IN ACCORDANCE WITH THE
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PROVISIONS OF REGULATION S OF THE ACT, OR IN TRANSACTIONS EFFECTED OUTSIDE OF THE UNITED STATES PROVIDED THEY DO NOT SOLICIT (AND NO ONE
ACTING ON THEIR BEHALF SOLICITS) PURCHASERS IN THE UNITED STATES OR OTHERWISE ENGAGE(S) IN SELLING EFFORTS IN THE UNITED STATES AND PROVIDED
THAT HEDGING TRANSACTIONS INVOLVING THESE SECURITIES MAY NOT BE CONDUCTED UNLESS IN COMPLIANCE WITH THE ACT. A HOLDER OF THE SECURITIES WHO
IS A DISTRIBUTOR, DEALER, SUB- UNDERWRITER OR OTHER SECURITIES PROFESSIONAL, IN ADDITION, CANNOT PRIOR TO THE ONE-YEAR ANNIVERSARY FROM THE
DATE OF PURCHASE RESELL THE SECURITIES TO A U.S. PERSON AS DEFINED BY RULE 902(k) OF REGULATION S UNLESS THE SECURITIES ARE REGISTERED UNDER THE
ACT OR AN EXEMPTION FROM REGISTRATION UNDER THE ACT IS AVAILABLE.


THE SECURITIES REPRESENTED HEREBY HAVE BEEN ACQUIRED FOR INVESTMENT AND HAVE NOT BEEN REGISTERED UNDER THE SECURITIES ACT OF 1933. SUCH
SHARES MAY NOT BE SOLD, PLEDGED, OR TRANSFERRED IN THE ABSENCE OF SUCH REGISTRATION OR A VALID EXEMPTION FROM THE REGISTRATION AND
PROSPECTUS DELIVERY REQUIREMENTS OF SAID ACT.




THE SECURITIES REPRESENTED HEREBY MAY BE TRANSFERRED ONLY IN ACCORDANCE WITH THE TERMS OF AN AGREEMENT BETWEEN THE COMPANY AND THE
SHAREHOLDER, A COPY OF WHICH IS ON FILE WITH THE SECRETARY OF THE COMPANY.




                                                                    Approvals



     Initiated by Kelly Yamashita
✓
     Approved Oct. 31, 2022    ~ ed43abeb09264154b181961efc860e90



     Signed by Samuel Bankman-Fried
✓
     Approved Nov. 1, 2022    ~ 1ecd698d1ef74fdeae1ef8af1faecf7d



     Signed by Can Sun (pending)
     Waiting for approval



     Received by IPV FTX Co-Invest (pending)
     Waiting for approval




                                                             Documents and notes



Additional documents                      % XN IPV FTX Stock Transfer Agreement 09162022 (1 ).pdf

Notes                                     Created from the transfer of PB1-23 on Sep 23, 2022 .
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                                                STOCK TRANSFER AGREEi\'IE~"T


                      TI-IlS STOCK TRAi"'\lSFER AGREEMENT (this "Agreement") is made as of September 23, 2022,
             by and among XN Exponent Master Fund LP ("Seller''), IPV FTX Co-Invest ("Buyer") and FTX Trading
             Ltd_, a company established under the laws of Antigua and Barbuda (the "Com pant ')_

                     WHEREAS, Seller is the record holder and beneficial owner of that number of shares of Series
             B-1 Prefe1Ted Stock ("Series B-1 Preferred Stock") of the Company and that number of shares of Common
             Stock ("Common Stock") of the Company set forth on Schedule A hereto (the "Subject Shares'')_

                      WHEREAS, subject to the terms and conditions of this Agreement, Seller desires lo sell, assign
             and transfer to the Buyer, and the Buyer desires to acquire from Seller, all of Seller' s right, title and interest
             in and to the Subject Shares in accordance with the allocatio11S set forth on Schedule A hereto _

                     WHEREAS, the Seller is bound by that certain Investors' Rights Agreement, dated as of January
             25, 2022, as may be amended or restated from time to tune, by and among the Company and the Investors
             (as such terms are defmed therein) (the "Investors' Rights Agreement"), and the pro,isions of the
             Investors' Rights Agreement shall be binding upon any assignee or transferee of any of the Subject Shares
             (as though such assignee or transferee were Seller) and any such assignee or transferee is required to execute
             and deliver to the Company a Joinder Agreement with respect to the Investors ' Rights Agreement

                     NOW, TI:IEREFORE, in consideration of the foregoing recitals and other good and valuable
             consideration, the receipt and adequacy of which is hereby acknowledged, the parties agree as follows :

             1.       ACQUISITION OF SHARES.

                     (a)     Sale and Purchase. Subject to the terms and conditions of this Agreement, at the Closing
             (as defined below) Seller shall sell, transfer and convey the Subject Shares to Buyer and Buyer shall
             purchase the Subject Shares from Seller free and clear of all Liens other than any restrictions on transfer
             contained in the Investors' Rights Agreement, any other applicable organizational document of the
             Company (the "Company Agreements") or any applicable securities law, for the purchase price set forth
             on Schedule A hereto (the "Purchase Price").

                     (b)     Ass ignment and A.ssumption ; Agreement to be Bound _ Seller is a party to the Investors'
             Rights Agreement Concurrently with the sale and purchase of the Subject Shares, Seller hereby assigns to
             Buyer all of Seller' s rights and obligations under the Investors' Rights Agreement with respect to the
             Buyer' s Subject Shares, and the Buyer hereby agrees to be bound by the terms and conditions of the
             Investors' Rights Agreements with respect to its respective Subject Shares as though such Buyer were
             Seller. Without limiting the foregoing, to the extent not already a party thereto, the Buyer shall deliver a
             Joinder Agreement with respect to the Investor Rights' Agreement in the form attached hereto as Schedule
             ~ (the "Joinder Agreement").


                      (c)     Oosing. The closing of the sale and purchase of the Subject Shares (the "Closing") .shall
             take place via the virtual exchange of documentation on the date of this Agreement or at such other time
             and place as the parties may agree_ Payment of the Purchase Price shall be made at the Closing by wire
             transfer of immediately available funds to Se lier's account as specified in writing to the Buyer prior to the
             Closing.
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                        (i) Deliveries bv Buyer_ On or before the Closing, the Buyer shall (A) deliver to Seller a wire
             transfer of immediately aYailable funds to an account designated by Seller, in an amount equal to the
             Purchase Price as set forth on Schedule A attached hereto, and (B) deliver to the Company a duly authorized
             and executed copy of the Joinder Agreement.

                        (ii) Deliveries bv Seller: Instructions of Seller_ Seller hereby instructs the Company
             immediately follow"ing the Closing to record the transfer in the books and records of the Company and to:
             (a) cancel any electronic or physical stock certificate issued to Seller representing the Subject Shares; (b)
             issue an electronic stock ceitificate eYidencing the Subject Shares being purchased by the Buyer hereunder
             in the Buyer' s name.

             2.       REPRESE1'ffATIONS A...l''H> WARRA..NTIES.

                     (a)     Representations and Warranties of Seller. In connection with the sale of the Subject
             Shares under this Agreement, Seller hereby represents and warrants to the Buyer as follows:

                         (i) Ownership of Subject Shares. Seller is the sole record and beneficial owner of the Subject
             Shares, and the Subject Shares are to be sold pursuant to this Agreement. Except as set forth in the Company
             Agreements, the Subject Shares are not subject to any lien, charge, pledge, claim, restrictions on transfer,
             mortgage, security interest, or title defect or other encumbrance of any sort (collectively "Liens") or to any
             rights of first refusal of any kind, and Seller has not granted any rights to purchase the Subject Shares to
             any other person or entity. Seller has the sole right to transfer the Subject Shares to Buyer pursuant to this
             Agreement. Upon the Closing, each Buyer will receive good title to and full ownership of its respective
             Subject Shares, subject to no Liens retained, granted or pennitted by Seller, other than as set forth in the
             Company Agreements.

                        (ii) Compliance with Securities Laws and Regulations. Seller and Seller's legal counsel are
             familiar with applicable securities laws and regulations regardino the transfer and sale of the Subject Shares
             pursuant to this Agreement, and Seller is responsible for ensuring that entry into this Agreement and
             performance of the transactions contemplated hereby are in compliance w"ith such la\vs. Seller's offer to
             sell the Subject Shares doe.snot violate the registration requirements under Section S of the Securities Act
             of 1933, as amended (the "Securities Act"), or any qualification or notification requirements under
             applicable state blue sky laws. Seller has not effected, or attempted to effect, the sale and transfer of the
             Subject Shares (a) by or through an underwriter or in any public offering, (b) by engaging in any general
             solicitation or (c) publishing any advertisement in connection with the sale and transfer of the Subject
             Shares.

                        (iii) Re resentation b , Counsel. Seller has been represented by its own cou11Sel in collllection
             with the sale of the Subject Shares or knowingly chosen not to consult such counsel and understands the
             legal, tax and accounting consequences assoc.iated with the sale of the Subject Shares. Seller acknowledges
             and agrees that it is not relying on any legal, tax, accounting or other advice from either of the Buyer, the
             Company or their respective counsel with respect to the Subject Shares.

                        (iv) Authorization. Seller has all requisite capacity, power and authority to enter into this
             Agreement, to consummate the transactions contemplated thereby, to sell the Subject Shares and to carry
             out and perform its obligations under the temlS of this Agreement. This Agreement has been duly executed
             and delivered by Seller and constitutes the valid and binding obligation of Seller enforceable in accordance
             with its terms, except as such enforceability may be limited by and subject to the laws of general application
             relating to bankruptcy, insolvency and the relief of debtors and to rules of law goYerning specific
             performance, injunctive relief or other equitable remedies.

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                       (v) Lawful Acquisition_ Seller ac,quired the Subject Shares for in,-estment purposes and
             without any intention of effecting a distribution thereof, and in accordance with applicable law (including
             anti-money laundering laws) and none of the funds of Seller used to acquire the Subject Shares were
             proceeds obtained, directly or indirectly; as a result of any unla\, ful activity_

                       (vi) No Conflict The execution, delivery and performance of this Agreement and the
             consummation of the transactions contemplated hereby will not result in any \-iolation or be in conflict \Vith
             or constitute, with or without the passage of time and giving of notice, either a default under any provision
             of any instrument, judgment, order, writ, decree or contract (including, without limitation, the Company
             Agreements) or an event which results in the creation of any lien, charge or encumbrance upon the Subject
             Shares_

                       (vii) Sale for Own Accow1t Seller is selling the Subject Shares for Seller's own account and
             the sale of the Subject Shares is not being effected for, on behalf of, or in concert ·with the Company or any
             other person, Seller is selling the Subject Shares only and not with a view to, or for sale in connection wit~
             a distribution of the Subj ect Shares within the meaning of the Securities Act. No portion of the Purchase
             Price will be received (whether directly or indirectly) by the Company,

                     (viii) Compliance with Company AQfeements_ Seller is in compliance with the applicable terms
             and conditions of all agreements between Seller and the Company with respect to any shares of the capital
             stock of the Company owned by Seller_

                       (ix) Consents_ Except for the Company consent set forth in Section 6 herein, no consent,
             waiver, appro\'al, order or autho1ization o( or registration, declaration or filing w-ith, any govemmental
             entity or any third party, including a party to any agreement .vith Seller, is required by or with respect to
             Seller in connection ,>vith the execution and delivery of this Agreement or the consummation of the
             transactions contemplated thereby_ Without limiting the generality of the foregoing, Seller has complied
             with or has obtained waivers with respect to any rights of first refusal or co-sale rights and has obtained
             consent or waiver with respect to any transfer restrictions, in each case, applicable to the sale and purchase
             of the Subject Shares pursuant to this Agreement

                         (x) Access to Data: In.formed Decision: Investigation_ Seller has reviewed such information
             and records of the Company as Seller deems necessary for purposes of conducting Seller' s own independent
             review and analysis of the Company's business, prospects and financial condition_ Seller acknowledges
             that the Purchase Price of the Subject Shares being paid by Buyers was negotiated at arm' s length, may not
             represent the fair market value of the Subject Shares, and that the Subject Shares may have a current or
             future value greater than or less than the amount paid for the Subject Shares under this Agreement_ Seller
             represents and warrants that Seller is fully and completely satisfied with the Purchase Price of the Subject
             Shares as fair and reasonable_ Seller understands that the Company's future plans, operations and financial
             transactions may result in the Subject Shares becoming significantly more or less valuable and that the
             future value of the Subject Shares could be greater than or less t11an the Purchase Price_ Seller acknowledges
             and understands that the Company may pursue liquidity events in which shares of capital stock of the
             Company are purchased or sold at prices materially different from the Purchase Price_ evertheless, Seller
             is selling the Subject Shares of Seller's o.vn free will, and the Buyer is purchasing the applicable Subject
             Shares of Buyer' s own free wilL one of the Company, the Buyer or any of its respective affiliated parties
             or agents have made any representation to Seller about the advisability of this decision or the existing or
             potential future value of the Subject Shares, nor has any of them provided any advice to Seller regarding
             the Purchase Price or the detennination thereof Seller acknowledges that neither the Company nor the
             Buyer, nor any of their respective affiliated parties, are under any obligation to disclose any information or
             opinion they may have about the potential future value of the Company' s capital stock, e\·en if such
             information is material, and Seller has determined to enter into this Agreement notwithstanding such lack
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             ofinfo1mation. Seller hereby acknowledges that any future sale of shares of the Company' s capital stock
             by the Company could be at a premium to or a discount to the Purchase Price, and any such sale could oc-eur
             at any time or not at all

                          (xi) Sophisticated Seller. Seller (a) is a sophisticated entity familiar with transactions similar
             to those contemplated by this Agreement, (b) has adequate information concerning, and has had a sufficient
             opportunity to e\·aluate, the business, financial condition and results of the Company to make an inf01med
             decision regarding the value and sale of the Subject Shares, (c) is not relying on any representations and
             warranties of the Company or the Buyer or any of their representatives regarding the Company's business,
             financial results, prospects or the merits and risks of selling the Subject Shares, and (d) has :independently
             and without reliance upon either of the Buyer or the Company, and based on such :information and the
             advice of such advisors as Seller has deemed appropriate, made Seller' s own analysis and decision to enter
             into this Agreement. Seller has not relied on any representations of the Buyer, other than as expressly set
             forth in Section 2 of this Agreement. Seller acknowledges that neither Buyer nor any of its respective
             affiliates (nor the Company nor any of its affiliates) is acting as a fiduciary or financial or investment adviser
             to Seller, or has given Seller any investment advice, opinion or other information on whether the sale of the
             Subject Shares is prudent. Seller acknowledges that (i) the Buyer currently may have, and later may come
             into possession of, inf01mation with respect to the Company that is not kno,,;u to Seller and that may be
             material to a decision to sell the Subject Shares, which, for the avoidance of doubt, may include, without
             limitation, material non-public information, any market share data, marketing phms, licenses, contract
             information business plans (including with respect to mergers, acquisitions, dispositions, liquidity events,
             financings (equity or debt), joint ventures or other strategic alternatives), financial forecasts, historical
             financial data, notices pro\·ided to stockholders of the Company, notice of the Company's :intention to file
             a registration statement (or similar listing materials), valuations, capitalization infomiation, budgets and
             other business infonnation ("Seller Exc.luded Information"), and that the Seller does not require the Buyer
             to disclose any Seller Excluded Infonnation to the Seller, (ii) the Seller Excluded Information may be
             indicati\'e of the value of the Subject Shares that is substantially lower or higher than the Purchase Price or
             otherwise adverse to Seller and the Seller Excluded Infonnation may be material to each of the Buyer's
             decision to purchase the Subject Shares, (iii) Seller has determined to sell the Subject Shares
             notwithstanding Seller' s lack ofknowledge of the Seller Excluded Information, and (iv) neither the Buyer
             nor the Company shall have any liability to Seller, and Seller , to the fullest extent permitted by law, waives
             and releases any claims, causes of action, actions, proceedings, suits, judgments liens and executions,
             whether known or unknown, now or hereafter that it might have against the Buyer or the Company, its
             directors, officers and stockholders, \\'hether under applicable securities la\v"S or otherwise, with respect to
             the nondisclosure of the Seller Excluded Information in connection with the sale of the Subject Shares and
             the Transaction, and further covenants not to sue the Buyer, or any of its partners, director' s, officers,
             employees, agents, controlling persons, investment advisors or affiliates for any loss, damage or liability
             arising from or relating to the non-disclosure of the Seller Excluded Information. Seller understands that
             the Buyer and its respective affiliates and agents will rely on the accuracy and truth of the foregoing
             repre.sentations as a condition to proceeding with purchasing the Subject Shares, and the Seller hereby
             consents to such reliance.

                         (xii) Continuing Rights_ Seller hereby acknowledges that it shall have no rights \Vith respect
             to the Subject Shares sold to the Buyer hereunder after such sale, whether as a shareholder of the Company
             or otherwise, with respect to any future sale, ac.quisition, merger, liquidation, dissolution, distribution,
             financing, initial public offering or another corporate event regarding the Company or its assets (any of the
             foregoing, a "Corporate Ennt"). Seller further expressly acknowledges that any such Corporate Event
             may result in the payment by the Company or a third party of assets, funds , or other proceeds to the
             Company' s security holders or an increase in the value of the Company' s shares such that the value
             attributed to the Company' s shares in such Corporate Event (either in an aggregate amount or on a per-
             share basis) may be greater than the Purchase Price hereunder.
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             Seller understands that the Buyer and the Company will rely on the accuracy and truth of the foregoing
             representations, and Seller hereby consents to such reliance.

                      (b)    Representations and \Varranties of Buyer. In connection with the purchase of the
             Subject Shares under this Agreement, the Buyer hereby represents and warrants to Seller and the Company,
             as follows:

                          (i) AuthorizatioIL The Buyer has full right, pO\ver and authority to enter into this Agreement
             and all other agreements contemplated hereby and to perform the obligations hereunder and thereunder.
             The Buyer has duly executed and delivered this Agreemenl This Agreement constitutes a legal, valid and
             binding obligation of such Buyer and is enforceable against such Buyer in accordance with its terms, except
             as such enforceability may be limited by and subject to the laws of general application relating to
             bankruptcy, insolvency and the relief of debtors and to rules of la,v governing specific performance,
             injunctive relief or other equitable remedies.

                          (ii) Acquired Entirely for Own Account. The Buyer is acquiring its respective Subject
             Shares hereto for in estment for the Buyer' s 0\vn account and not with the view to, or for resale in
             connection with, any distribution thereof (including, without limitation, any direct or indirect interest or
             right therein). The Buyer is not an underwriter as that term is defined under the Securities Act, The Buyer
             understands that the Subject Shares it is acquiring hereunder have not been registered under the Securities
             Act by reason of a specific exemption from the registration provisions of the Securities Act which depends
             upon, among other things, the bona fide nature ofBuyer' s investment intent as expressed herein. The Buyer
             further represents that Buyer does not have any contract, undertaking, agreement or arrangement with any
             person to sell, transfer or grant any participation with respect to any of the Subject Shares it is acquiring
             hereunder or any direct or indirect interest or right therein. The Buyer is not at present, and has not been
             during the preceding three months, an "affiliate" of the Company within the meaning of Rule 144(a)(l ) of
             the Securities Act.

                         (iii) Compliance 'l>vith Secwities Laws and ReITTJlations. The Buyer' s offer to purchase its
             respecti\·e Subject Shares being sold and transferred under this Agreement is not part of a "tender offer" by
             Buyer, as such term is used in Section 14(d) and Regulation 14D of the Exchange Act, nor does it violate
             the registration requirements under Section 5 of the Securities Act or any qualification or notification
             requirement under applicable state blue sk--y laws.

                        (iv) Disqualification. The Buyer represents that neither Buyer nor any entity in control of
             such Buyer is subject to any of the "Bad Actor" disqualifications described in Rule 506(d)(l)(i) to (viii)
             under the Securities Act. The Buyer agrees, for so long as Buyer or any such person beneficially owns any
             equity securities of the Company, to notify the Company if Buyer or any person or entity in control of the
             Buyer becomes subject to such disqualifications after the date hereof.

                          (v) Sophisticated Buver. The Buyer (a) is a sophisticated entity fanliliar with transactions
             similar to those contemplated by this Agreement, (b) has adequate info1mation concerning the business and
             financial condition of the Company to make an informed decision regarding the purchase of its respective
             Subject Shares, (c) is not relying on any representations and warranties of the Company or the Seller or any
             of their representatives regarding the Company's business, financial results, prospects or the merits and
             risks of selling the Subject Shares, and (d) has independently and without reliance upon Seller or the
             Company, and based on such information and the advice of such advisors as Buyer has deemed appropriate,
             made its own analysis and decision to enter into this Agreement. The Buyer acknowledges that none of
             Seller nor Seller' s affiliates (nor the Company nor any of its affiliates) is acting as a fiduciary or financial
             or investment adviser to Buyer, or has given Buyer any investment advice, opinion or other information on
             w·hether the purchase of its respecti\·e Subject Shares is prudent. The Buyer acknowledges that (i) Seller
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             currently may hm·e, and later may e,ome into possession of, information with respect to the Company that
             is not known to Buyer and that may be material to a decision to purchase its respective Subject Shares,
             ,-vhich for the avoidance of doubt, may include, without limitation, any market share data, marketing plans,
             licenses, contract information business plans (including with respect to mergers, acquisitions, dispositions,
             liquidity events, financings ( equity or debt} joint ventures or other strategic altematiYes), financial
             forecasts, historical financial data, notices provided to stockholders of the Company, notice of the
             Company's intention to file a registration statement (or similar listing materials), valuations, capitalization
             information, budgets and other business information (the "Buyer Excluded Informationn), and that the
             Buyer does not require the Selle,r to disclose any Buyer Excluded Information to the Buyer, (ii) the Buyer
             Excluded Information may be indicative of the value of the Subject Shares that is substantially lower or
             higher than the Purchase Price or otherwise adverse to Buyer and the Buyer :&xcluded Information may be
             material to the Buyer's decision to purchase the Subject Shares, and (iii) Buyer has determined to purchase
             its respective Subject Shares notwithstanding its lack of knowledge of the Buyer Excluded Information and
             (iv) neither the Seller nor the Company shall have any liability to Buyer, and Buyer, to the fullest ex1ent
             permitted by law, waives and releases any claims, causes of action, actions, proceedings, suits, judgments
             liens and executions, v,hether known or unknO\VIJ, now or hereafter that it might have against the Seller or
             the Company, its directors, officers and stockholders, whether under applicable securities law-s or otherv,ise,
             with respect to the nondisclosure of the Buyer Excluded Information in co1111ection with the sale of the
             Subject Shares and the transaction, and further covenants not to sue the Seller, or any of its partners,
             director's, officers, employees, agents, controlling persons, investment advisors or affiliates for any loss,
             damage or liability arising from or relating to the non-disclosure of the Buyer Excluded Information. Buyer
             understands that the Seller and its respective affiliates and agents will rely on the accuracy and truth of the
             foregoing representations as a condition to proceeding with purchasing the Subject Shares, and the Buyer
             hereby consents to such reliance.

                        (vi) Investment Expenence_ The Buyer is e,x.perienced in e\·aluating companies such as the
             Company, is able to fend for itself, and has extensive knowledge and experience in fmancial and business
             matters. The Buyer is capable of evaluating the merits and risks of Buyer' s investment in its respective
             Subject Shares, and has the ability to bear the economic risks of the investment.

                         (vii) Rule 144. The Buyer acknowledges that its respective Subject Shares are "restricted
             securities" as the term is defmed in Rule 144 promulgated pursuant to the Securities Act and must be held
             indefinitely unless subsequently registered under the Securities Act or an exemption from such registration
             is available. The Buyer is aware of the provisions of Rule 144 promulgated pursuant to the Securities Act
             which pennit limited resale of shares purchased in a private placement subject to the satisfaction of certain
             conditions. Without limiting the provisions of the Company Agreements, the Buyer co,·enants that, in
             absence of an effective registration statement co,·ering the stock in question, the Buyer will selL transfer or
             otherwi se dispose of its respective Subject Shares only in a manner consistent with the Buyer's
             represe1rtations and covenants set forth herein and in compliance with the registration requirements or
             exemption provisions of the Securities Act and any other applicable securities Jaws.

                       (Yiii)    o Public Market. The Buyer understands that at the time Buyer wi shes to sell its
             respective Subject Shares, there may be no public market upon which to make such a sale, and that, even if
             such a public market then exists, the Company may not be satisfying the current public information
             requirements of Rule 144, and that, in such event, the Buyer would be precluded from selling its respective
             Subject Shares under Rule 144 even if the minimum holding period were satisfied.

                         (ix) Disclosure of Information: Informed Decision: Investigation. TI1e Buyer agrees that the
             Company makes no representations and warranties and has not provided information or disclosures of any
             kind to the Buyer in connection with the transactions contemplated by this Agreement. _ .onetheless, the
             Buyer is aware of the Company's business affairs and financial condition and has acquired sufficient
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             information about the Company to reach an informed and kno,,-..,ledgeable decision to acquire its respective
             Subject Shares_ T11e Buyer acknowledges that Buyer has had the opportunity to ask questions and receive
             answers regarding the business, properties, prospects and financial condition of the Company and to obtain
             any additional infonnation requested and has received and considered all such information the Buyer deems
             relevant to make an informed decision to purchase its respective Subject Shares_ T11e Buyer acknowledges
             that the Purchase Price of its respective Subject Shares, as set fo11h on Schedule A attached hereto, being
             paid by the Buyer was negotiated at ann 's length, may not represent the fair market ,-alue of such Subject
             Shares, and that such Subject Shares may ha\'e a cun-ent or future value greater than or less than the amount
             paid for such Subject Shares under this Agreement The Buyer understands that the Company's future
             plans, operations and financial transactions may result in its respective Subject Shares becoming
             significantly more or less valuable and that the future value of such Subject Shares could be greater than or
             less than the Purchase Price set forth on Schedule A attache.d hereto_ The Buyer acknowledges and
             understands that the Company may pursue liquidity events in which shares of capital stock of the Company
             are purchased or sold at prices materially different from the Purchase Price set forth on Schedule A attached
             hereto_ Nevertheless, Seller is selling the Subj ect Shares of Seller's O\Nn free will, and Buyer is purchasing
             its respective Subject Shares of the Buyer's own free will_ -either the Company nor any of its agents has
             made any representation to the Buyer about the advisability of this decision or the existing or potential
             future value of its respective Subject Shares, nor has any of them provided any advice to the Buyer regarding
             the Purchase Price set forth on Schedule A attached hereto or the detennination thereof The Buyer
             acknowledges that neither tl1e Company nor Seller, nor any of their respective affiliated parties, are under
             any obligation to disclose any infonnation or opinion they may have about the potential future value of the
             Company 's capital stock, even if such information is material, and the Buyer has detennined to enter into
             this Agreement notwithstanding such lack of infonnation_ The Buyer hereby acknowledges that any future
             sale of shares of the Company' s capital stock by the Company could be at a premium or a discount to the
             Purchase Price set forth on Schedule A attached hereto, and such sale could occur at any time or not at alL

                          (x) Hi!!h Risk The Buyer realizes that investment in its respective Subject Shares involves
             a high degree of risk The Buyer is able to bear the risk of the investment, to hold such Subject Shares for
             an indefinite period of time and to suffer a complete loss of the investment

                          (xi) Securities_ ot Recistered_ The Buyer understands that its respective Subject Shares have
             not been registered under the Securities Act and have been issued and are being sold hereunder, in each
             case, in reliance upon a specific exemption therefrom, which exemption depends upon, among other things,
             the bona fide nature of the investment intent as expressed herein_

                        (xii) Accredited Investor: Not Formed to Acquire Shares _ TI1e Buyer is an "accredited
             investor" as that term is defined in Rule 501 of the Securities Act If applicable, each holder of an interest
             in the Buyer or any entity affiliated \vith the Buyer is also an accredited investor_ Neither the Buyer nor
             any entity affiliated with the Buyer was formed for the purpose of acquiring shares of the capital stock of
             the Company (including without limitation the Subject Shares) or any du-ect or indirect right or interest
             therein_

                        (xiii) No Solicitation_ At no time was the Buyer presented v,ith or solicited by any email,
             circular, article, advertisement, announcement, posting of infonnation on a website, news release, analyst
             report, research report, third party communication, \ -ebinar or any other form of sojjcitation, advertising or
             publicity in collllection with the transfer of its respective Subject Shares_

                     (xiY) Companv A2:reernents_ T11e Buyer agrees to be bound by the tenns and conditions of the
             Company Agreements with respect to its respective Subject Shares as though such Buyer were Seller_



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             The Buyer understands that Seller and the Company will rely on the accuracy and truth of the foregoing
             representations, and the Buyer hereby consents to such reliance. Each of the Seller' s and the Company'
             respective legal counsel is authorized to rely on this certificate for purposes of prepaiing ai1d delivering any
             legal opinion(s) required in connection with the transfer of the Subject Shares.


             3.        COVE_'Al'll"TS.

                   (a)      Covenants of Buyers. In connection with the purchase of the Subject Shares under this
             Agreement, each Buyer acknowledges and agrees as follows:

                         (i) Legends. Any certificates evidencing the Subject Shares may bear one or more of the
             following (or similar) legends:

                  •    THE SECURITIES REPRESENTED HEREBY HAVE BEEN ACQUIRED FOR
                       INVESTMENT A1iD HAVE NOT BEE. REGISTERED UNDER THE SECURITIES
                       ACT OF 1933. SUCHSHARES1v1AY OT BESOLD, PLEDGED, OR TRANSFERRED
                       IN THE ABSE TE OF SUCH REGISTRATIO OR A VALID EXEMPTION FROM
                       THE REGISTRATION AND PROSPECTUS DELIVERY REQUIREME TS OF SAID
                       ACT.

                  •    THE SECURITIES REPRESENTED HEREBY MAY BE TRANSFERRED O_ -LY IN
                       ACCORDANCE WITH THE TERMS OF AN AGREEMENT BETWEE. THE
                       COMPANY AND THE SHAREHOLDER, A COPY OF WHICH IS ON FILE WITH THE
                       SECRETARY OF THE COMPANY

                  •    THE SHARES REPRESEt TED BY THIS CERTIFICATE HAVE _ OT BEEN
                       REGISTERED UNDER THE SECURITIES ACT OF 1933, AS AMENDED (THE
                       "ACT") WITH THE UNITED STATES SECURITIES AND EXCHANGE
                       CO:MMISSION, AND THE COMP.Al"l"Y DOES NOT INTEND TO REGISTER THEM.
                       PRIOR TO OCTOBER 18, 2022, THE SHARES MAY NOT BE OFFERED OR SOLD
                       (INCLUDING OPENING A SHORT POSITIO         - SUCH SECURITIES) IN THE
                       UNITED STATES OR TO U.S. PERSO. SAS DEFINED BY RULE 902(k) ADOPTED
                       UNDER THE ACT, OTHER THAN TO DISTRIBUTORS, UNLESS THE SHARES ARE
                       REGISTERED UNDER THE ACT, OR AN EXEMPTION FROM THE
                       REGISTRATIO_ - REQUIREME"t-.fTS OF THE ACT IS AVAILABLE. PURCHASERS
                       OF SHARES PRIOR TO OCTOBER 18, 2022, MAY RESELL SUCH SECURITIES
                       ONLY PURSUANT TO A EXEMPTION FROM REGISTRATION UNDER THE ACT
                       OR OTHERWISE IN ACCORDANCE WITH THE PROVISIONS OF REGULATIONS
                       OF THE ACT, OR IN TRA1 SACTIO_ S EFFECTED OUTSIDE OF THE UNITED
                       STATES PROVIDED THEY DO OT SOLICIT (A1 ID NO ONE ACTING O - THEIR
                       BEHALF SOLICITS) PURCHASERS IN THE UNITED STATES OR OTHERWISE
                       ENGAGE(S) IN SELLING EFFORTS        THE UNITED STATES AND PROVIDED
                       THAT HEDGING TRANSACTIONS IN OLVING THESE SECURITIES MAY NOT
                       BE CONDUCTED UNLESS IN COMPLI.Al"l"CE WITH THE ACT. A HOLDER OF THE
                       SECURITIES WHO IS A DISTRIBUTOR, DEALER, SUBUNDERWRITER OR
                       OTHER SECURITIES PROFESSIONAL,          ADDITION, CA OT PRIOR TO
                       OCTOBER 18, 2022 RESELL THE SECURITIES TO A U.S. PERSON AS DEFINED
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                      BY RULE 902(k) OF REGULATIO                        S UNLESS THE SECURITIES ARE
                      REGISTERED UNDER THE ACT OR                         EXEMPTION FROM REGISTRATION
                      UNDER THE ACT IS AVAILABLE.

                          (ii) Indemnification. The Buyer shall indemnify, defend and hold hannless as a continuing
             obligation under which successive recoveries may be had the Seller, the Company and its predecessors and
             successors, past and present agents, repre.sentatives, partners, directors, officers, attorneys, employees,
             servants, stockholders, affiliates, subsidiaries, heirs, executors, administrators, assigns, as well as any
             person acting by, through, under or in conce11 ,vith any of the fore.going (collectively, the "Indemnified
             Parties" and individually, an "Indemnified Party"), from and against all claims, demands, causes of
             action, obligations, losses, damages, liabilities, contracts, agreements, promises, debts, costs and expenses
             of any kind whatsoever, including, without limitation, court costs and reasonable attorneys' fees, whether
             at law or in equity, asserted or unasserted, known or unknO\•m, suspected or U11Suspected, fixed or
             contingent, to which the Seller, the Company or any other Indemnified Party may be subjected or liable in
             connection with any inaccuracy or breach of any repre.sentation, warranty or cove11ant made by such Buyer
             herein_

                          (iii) Exculpation: Disclaimer. Buyer agrees that the Company shall not be liable to Buyer or
             Seller for mistakes of judgment, fact or Im,', or for action or inaction, taken in good faith for a purpose
             reasonably believed to be in the best interest of completing the transactions contemplated by this
             Agreement, or for losse.s due to such mistakes, action or inaction, or to the negligence, dishonesty or bad
             faith of any employee, broker or other agent; provided, however, that such employee, broker or agent was
             selected, engaged or retained with reasonable care. Buyer ackno,vledges that the Company may consult
             with counsel and accountants in respect of the transactions contemplated by this Agreement and be fully
             protected and justified in any action or inaction that is taken in accordance with the advice or opinion of
             such coU11Sel or accountants; provided, however, that they shall have been selected with reasonable care.
             Buyer agrees that under no circumstances will the Company be liable to a party for any other party' s failure
             to perfotm obligations under this Agreement. The limitations of liability in this section shall not extend to
             any conduct constituting reckles·ness, willful misconduct or gross negligence. Solely to the extent that
             such liability may not be ,0vaived, modified or limited under applicable Jaw, this section shall be construed
             so as to effectuate its provisions to the fullest extent permitted by law

                         (iv) Release. The Buyer, on behalf of itself and on behalf of its predecessors and successors,
             past and present agents, representatives, attorneys, heirs, executors, administrators and assigns, as well as
             any person acting by, through, under or in concert ,vith any of the foregoing does hereby release and forewr
             discharge the Seller and the Company, and their predecessors and successors, past and present agents,
             representatives, partners, directors, officers, attorneys, employees, servants, shareholders, affiliates,
             subsidiaries, heirs, executors, administrators and assigns, as well as any person acting by, through, under
             or in concert wi th any of the foregoing, from any and all claims, demands, causes of action, obligations,
             damages, losses, liabilities, contracts, agreements, promises, debts, costs and expenses of any kind
             whatsoever, whether at law or in equity, asserted or unasserted, known or unkno,i,n, suspected or
             unsuspected, fornd or contingent (collectively, "Claims» and individually, "Claim"), which Seller ever had,
             now has, or may claim to have against the Purchaser or the Company, relating to or arising from the transfer
             and sale of the Shares.

             4.       SURVIVAL.

                     The representations, warranties, obligations or other agreements contained in or made pursuant to
             this Agreement shall survive the execution and delivery of this Agreement and the Closing.


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             5.       SUCCESSORS A~l) ASSIGJKS.

                     Except as otherwise expressly provided in this Agreement, all covenants and agreements contained
             in this Agreement by or on behalf of any of the parties hereto will bind and inure to the benefit of its
             respective successors and assigns of such parties whether so expressed or not. Without limiting the
             foregoing, any subsequent transferee of any of the Subject Shares shall be bound by the provision of the
             Company Agreements (and this Agreement) as though such transferee were Seller ( or, \Vith respect to this
             Agreement, the Buyer)_

             6.       CO:\'IP ANY CONSEl'f f Ai~        WAIVER.

                      The Company hereby (i) consents to the sale of the Subject Shares pursuant to this Agreement, and
             (ii) waives any and all rights of first refusal and any other applicable transfer restrictions (and any and all
             applicable notice requirements with respect thereto) in com1ection with the sale and purchase of the Subject
             Shares pursuant to this Agreement

             7.       NOTICES.

                     Any notice, demand or request required or pe1mitted to be given under this Agreement shall be in
             writing and shall be deemed sufficient when delivered personally or by overnight courier or sent by email,
             or three business days after being deposited in the _s. mail as certified or registered mail with postage
             prepaid, addressed to the party to be notified at such party's address as set forth on the signature page, as
             subsequently modified by written notice, or if no address is specified on the signature page, at the most
             recent address set forth in the Company' s books and records_

             8.       FURTHER ACTIONS.

                     The parties hereto agree to execute such further instruments and to take such futther action as may
             be reasonably necessary to carry out the intent of this Agreement or as may be reasonably requested by the
             Company_

             9.       E~TIRE AGREE~1El'l"T.

                     This Agreement constitutes the entire contract between the patties hereto with regard to the subject
             matter hereof It supersedes any and all prior agreements, representations or understandings (whether oral
             or written and \vhether express or implied) entered into prior to the Closing which relate to the subj ect
             matter hereof This Agreement may be executed in two or more counterparts, including by electronic
             facsimile transmission, each of which shall be deemed atl original, but all of which together shall constitute
             one and the satne instrument If any provision of this Agreement shall be held to be illegal, invalid or
             unenforceable, such illegality, invalidity or unenforceability shall attach only to such provision and shall
             not in any manner affect or render illegal, invalid or unenforceable any other severable provision of this
             Agreement, and this Agreement shall be carried out as if any such illegal, invalid or unenforceable pro -ision
             were not contained herein_ Section headings contained in this Agreement are for reference purposes only
             and shall not affect in any way the meaning or interpretation of this Agreement This Agreement may not
             be amended without the wTitten consent of each of the parties_ Each patty hereto has been represented by
             such party' s own counsel, and no party hereto has relied upon any advice from !he other party (or the
             Company) or such other party' s counsel (or the Company' s counsel)_




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             10.      CHOICE OF LAW.

                    The validity, interpretation, construction and performance of this Agreement, and all acts
             and transactions pursuant hereto and the rights and obligations of the parties hereto shall be
             governed, construed and interpreted in accordance with the laws of the state of Delaware, without
             giving effect to principles of conflicts of law.

             11.      SPECIFIC PERFORMANCE.

                      Unless this Agreement has been terminated, each party to this Agreement acknowledges and agrees
             that any breach by it of this Agreement shall cause any (or either) of the other paities irreparable harm
             which may not be adequately compensable by money damages. Accordingly, except in the case of
             termination, in the event of a breach or threatened breach by a party of any provision of this Agreement,
             each party shall be entitled to seek the remedies of specific perfonnance, injunction or other preliminary or
             equitable relief, without having to pro\·e irreparable harm or actual damages. The foregoing right shall be
             in addition to such other rights or remedies as may be available to any party for such bre.ach or threatened
             breach, including but not limited to the recovery of money damages.

             12.      CONFLICT.

                     In the eYent of any conflict between the tenns of this Agreement and the Company Agreements,
             the tenns of this Agre.ement shall control.

             13.      CO _,TERPA.RTS.

                      This Agreement may be executed in two or more counterparts, each of which shall be deemed an
             original, but all of which together shall constitute one and the same instrument_ E.xecution of a facsimile,
             electronically submitted or scanned copy will have the same force and effect as execution of an original,
             and a facsimile, scanned or electronic signature will be deemed an original and valid signature.

                                                        [Signature Page Follows ]




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                     IN WITNESS ·wHEREOF, each of the parties has executed this Stock Transfer Agreement as of
             the day and year first above ,vritte.n.


                                                               BUYER:

                                                               IPV FIX CO-INVEST, A SERIES OF IRON PINE
                                                               VENTURES CO- VEST FUND

                                                                 BY: IRO         PINE VE TURES LLC, ITS
                                                                 MANAGER


                                                                 By:    ~;;f½~
                                                                 Name: Pa'f?i"ckAiiM\Yrin
                                                                 Title: Managi n g Member


                                                                 Address: 3791 Wasatch Av e
                                                                           Los Angeles CA 90066
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                     IN WITNESS \VHEREOF, each of the parties has execute-cl this Stock Transfer Agreement as of
             the day and year first above ·written_


                                                               SELLER:


                                                               XN EXPONEl'i1 :\'IASTER FUND LP

                                                               By: XN Exponent GP LLC, its General Partner



                                                               B~
                                                               Name: Thomas L. O'Grady
                                                               Title: General Counsel and Chief Compliance Officer

                                                               Address: 412 West 15 th Street
                                                                         13mFloor
                                                                         New York, IY 10011




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                     IN WITNESS \VHEREOF, each of the parties has execute-cl this Stock Transfer Agreement as of
             the day and year first above w1itten


                                                               CO:i\1PANY:
                                                                             DocliSlfnad by :


                                                                          ~ Mlw,{, f;~111AI1v-fYiJ,
                                                               By: - -- = = , _..___ _ _ _ _ _ __
                                                               Name:    Samu e      Ban man -Fr, e
                                                               Title:   CEO

                                                               Address: Lower Factor y Road , St. Joh n' s
                                                                        Antigu a & Barbuda




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                                                           SCHEDULE A
                                                       B iYERALLOCATION

          Name of Buyer                Type of Share           :\"umber of Subject   Price Per Share    Purchase Price
                                                                     Shares
      IPV FTX Co-Im-est             Series B- 1 Preferred            19,077              $33.00            $629,541
                                           Stock
      IPV FTX Co-Invest               Common Stock                     76308             $33.00           $2,518,164

               Total                                                   95,385                            53,147, 705.00




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                                                               SCHED iLEB

                                                      JOINDER AGREE)•IENT

                                                                [attached]
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           EXHIBIT 4
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                                Filing Detail                                                                   EDGAR System


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      Form D - Notice of Exempt Offering of Securities:                                        SEC Accession No. 0001939360-22-000001

      Filing Date                    Effectiveness Date            Items
          2022-12-23                    2022-12-23                    Item 06b:
      Accepted                                                        Item 3C: Investment
          2022-12-23 15:23:59                                         Company Act Section 3(c)
      Documents                                                       Item 3C.1: Section 3(c)(1)
          1


     Document Format Files

      Seq     Description                                         Document                    Type       Size
      1                                                           primary_doc.html            D
      1                                                           primary_doc.xml             D          6991
                                                                  0001939360-22-
              Complete submission text file                                                              8158
                                                                  000001.txt

     IPV FTX Co-Invest a Series of Iron Pine Ventures Co-Invest Business Address                                Mailing Address
     Fund LLC (Filer) CIK: 0001939360 (see all company filings) 8 THE GREEN                                     8 THE GREEN
                                                                                       SUITE A                  SUITE A
     IRS No.: 000000000 | State of Incorp.: DE | Fiscal Year End: 1231                 DOVER DE 19901           DOVER DE 19901
     Type: D | Act: 33 | File No.: 021-468650 | Film No.: 221485121                    6172572511




https://www.sec.gov/Archives/edgar/data/1939360/0001939360-22-000001-index.htm                                                           1/1
